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                   UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF IOWA


 IN RE:                                       Chapter 11
                                              Case No. 18-01297
 VeroBlue Farms USA et al.,
                                              NOTICE OF CORRECTED CREDITOR
                                              ADDRESS
     Debtor.


      COMES NOW Counsel for the Debtor and hereby submits a change of address

for the Creditor as set forth below.

      1. DELETE THE FOLLOWING ADDRESSES:

    Capitol Corporate Services, Inc.
    PO Box 1831
    Austin, TX 78767

      2. ADD THE FOLLOWING ADDRESSES:

    Capitol Corporate Services, Inc.
    Attn: Jason Fischer
    2016 E 9th St., Ste 1300
    Austin, TX 78701


Dated this 29th day of March, 2019.

                                              Respectfully submitted,

                                               AG & BUSINESS LEGAL STRATEGIES

                                               /s/ Joseph A. Peiffer
                                               Joseph A. Peiffer AT0006160
                                               P.O. Box 11425
                                               Cedar Rapids, Iowa 52410-1425
                                               Telephone: (319) 363-1641
                                               FAX: (319) 200-2059
                                               E-mail: joe@ablsonline.com
                                               ATTORNEY FOR DEBTOR



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                            CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on the 29th day of March 2019, a copy of
the foregoing document was filed with the Clerk of Court for the United States
Bankruptcy Court for the Northern District of Iowa using the CM/ECF system and
served electronically on those participants that receive service through the CM/ECF
System.
                                     Signed: /s/ Jeffrey Brookens




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